Case 1:03-md-01570-GBD-SN Document 10538 Filed 11/14/24 Pagelof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re TERRORIST ATTACKS ON No. 03-MDL-1570 (GBD) (SN)

SEPTEMBER 11, 2001 SO ORDERED:
= B Davil

Géotge Rick U.S.D.J.
“Ee ot uy * & oA
[PROPOSED] ORDER ON DALLAH AVCO’S REQUEST™ :
TO APPROVE REDACTED PUBLIC FILING OF REPLY SUBMISSION

WHEREAS on August 13, 2024, Dallah Avco and the FBI jointly sought authorization to
file public redacted versions of Dallah Avco’s reply papers on its renewed dispositive motions;

WHEREAS on November 14, 2024, Dallah Avco and the FBI jointly informed the Court
that the FBI was partially withdrawing its redaction request; and

The Court FINDING that the FBI has made an adequate showing to justify the FBI’s
amended redaction request for the reasons described in the foregoing letters;

It is hereby ORDERED that:

1. Dallah Avco shall file a public redacted version of its reply submission that
redacts only the following information: (1) with respect to Dallah Avco Ex. 97, the information
that the FBI proposes to redact in the November 14, 2024, joint letter; and (2) with respect to the
remaining documents, the information that is required to be redacted by this Court’s July 29,
2024, sealing order; and

2. Dallah Avco shall publicly file the August 13, 2024, joint letter, without the

attachment.
